      Case 5:20-cv-00081 Document 85 Filed on 07/05/22 in TXSD Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

 GILBERTO GOMEZ VICENTE, individually                  §
 as the surviving father of Claudia Patricia           §
 Gomez Gonzalez and as heir-at-law to the              §
 Estate of Claudia Patricia Gomez Gonzalez;            §
 LIDIA GONZALEZ VASQUEZ, individually                  §
 as the surviving mother of Claudia Patricia           §
 Gomez Gonzalez and as heir-at-law to the              §
 Estate of Claudia Patricia Gomez Gonzalez;            §
 and RICARDO DE ANDA, in his capacity as               §
 Administrator of the Estate of Claudia Patricia       §
 Gomez Gonzalez,                                       §
                                                       §
                Plaintiffs,                            §
                                                       §
        v.                                             §   Case No. 5:20-CV-81
                                                       §
 UNITED STATES OF AMERICA;                             §
 ROMUALDO BARRERA, Agent, United                       §
 States Border Patrol, in his individual               §
 capacity.                                             §
                                                       §
                Defendants.                            §
                                                       §
                                                       §

                                 NOTICE OF SETTLEMENT

       The parties notify the Court that they have resolved their differences and settled this

lawsuit. The parties will file an Agreed/Joint Motion to Dismiss with a proposed Order of

Dismissal with Prejudice upon the completion of the settlement documents. The parties request

that the Court cancel all settings and deadlines that are currently scheduled, pending consummation

of the settlement and submission of the dismissal pleadings.




                                                   1
    Case 5:20-cv-00081 Document 85 Filed on 07/05/22 in TXSD Page 2 of 4




DATED: July 5, 2022                      Respectfully submitted,

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                                     2
Case 5:20-cv-00081 Document 85 Filed on 07/05/22 in TXSD Page 3 of 4




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                                 3
     Case 5:20-cv-00081 Document 85 Filed on 07/05/22 in TXSD Page 4 of 4




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
has been served on all counsel of record via electronic mail and through the Court’s electronic
filing system on July 5, 2022.


                                                    s/ Jimmy A. Rodriguez




                                               4
